Case 1:14-ml-02570-RLY-TAB Document 22474 Filed 08/03/22 Page 1 of 2 PageID #:
                                 132684


                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 IN RE: COOK MEDICAL, INC., IVC FILTERS                                  Case No. 1:14-ml-RLY-TAB
 MARKETING, SALES PRACTICES AND                                                       MDL No. 2570
 PRODUCTS LIABILITY LITIGATION


 This Document Relates to:

 Diane Hale, 1:21-cv-03084


                  STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the above-titled Plaintiff and Defendants Cook

Incorporated, Cook Medical LLC, and William Cook Europe ApS jointly stipulate that the above-

captioned case is dismissed without prejudice, with each party to bear its own costs. To the extent

not barred by applicable statutes, such as the statute of limitations or statute of repose, Plaintiff

may refile her case in the Southern District of Indiana. If Plaintiff refiles her case in any jurisdiction

other than the Southern District of Indiana, this dismissal will automatically convert to a dismissal

with prejudice.

 /s/ Basil E. Adham                                   /s/ Jessica Benson Cox
 Basil E. Adham                                       Jessica Benson Cox
 TX Bar No 24081742                                   FAEGRE DRINKER BIDDLE & REATH LLP
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                                                      Attorneys for Defendants Cook Incorporated,
 Attorney for Plaintiffs                              Cook Medical LLC, & William Cook Europe ApS

Dated: August 3, 2022
Case 1:14-ml-02570-RLY-TAB Document 22474 Filed 08/03/22 Page 2 of 2 PageID #:
                                 132685


                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 3, 2022, I electronically transmitted the foregoing using the

CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the attorneys who are

registered with the Court’s electronic filing system.



                                                           /s/ Jessica Benson Cox
                                                           Jessica Benson Cox




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